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     Sacramento, CA. 95814
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     (916) 444-3994
 4   Fax (916) 447-0931

 5   Attorney for Defendant
     CORY WHALEN
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     THE UNITED STATES OF AMERICA,                ) No. CR-S-08-318 LKK
 9                   Plaintiff,                   )
                                                  ) STIPULATION AND
10          v.                                    ) ORDER TO CONTINUE
11
                                                  ) SENTENCING
     CORY WHALEN,                                 )
12                                                ) Date: December 6, 2011
                            Defendant.            ) Time: 9:15 a.m.
13                                                ) Judge: Hon. Lawrence K. Karlton
14

15
            IT IS HEREBY stipulated between the United States of America through its undersigned

16
     counsel, Russell Carlberg, Assistant United States Attorney, together with counsel for defendant

17
     Cory Whalen, John Manning, Esq., that the sentencing presently set for November 8, 2011, be

18
     continued to December 6, 2011, at 9:15 a.m., thus vacating the presently set sentencing. The

19
     parties and United States Probation hereby requests that the court adopt the following schedule

20
     pertaining to the presentence report:

21

22               Judgment and Sentencing date:                                  12/6/11

23               Reply, or Statement of Non-Opposition:                         11/29/11
24
                 Motion for Correction of the Presentence Report
25               Shall be filed with the Court and served on the
                 Probation Officer and opposing counsel no later than:          11/22/11
26
                 The Presentence Report shall be filed with the Court
27
                 And disclosed to counsel no later than:                        11/15/11
28




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 1             Counsel’s written objections to the Presentence Report
               Shall be delivered to the probation officer and opposing
 2
               Counsel no later than:                                         11/8/11
 3
               The proposed Presentence Report shall be disclosed to
 4             Counsel no later than:                                         N/A
 5

 6                                                      Respectfully submitted,

 7   Dated: October 12, 2011                            /s/ John R. Manning
                                                        JOHN R. MANNING
 8
                                                        Attorney for Defendant
 9                                                      Cory Whalen

10

11
     Dated: October 12, 2011                            BENJAMIN B. WAGNER
12
                                                        United States Attorney

13                                                      /s/ Russell Carlberg____
                                                        RUSSELL CARLBERG
14                                                      Assistant U.S. Attorney
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             Case 2:08-cr-00318-DAD Document 285 Filed 10/13/11 Page 3 of 3


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     CORY WHALEN
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 7

 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     THE UNITED STATES OF AMERICA,             ) No. CR-S-08-318 LKK
10
                     Plaintiff,                )
11                                             ) ORDER
            v.                                 )
12                                             ) Date: December 6, 2011
     CORY WHALEN,                              ) Time: 9:15 a.m.
13
                                               ) Judge: Hon. Lawrence K. Karlton
14                        Defendant.           )
                                               )
15
            GOOD CAUSE APPEARING, it is hereby ordered that the sentencing for COREY
16
     WHALEN, presently set for November 8, 2011, at 9:15 a.m. be continued to December 6, 2011, at
17
     9:15 a.m.
18

19   Dated: October 13, 2011
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